                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR10-4083-MWB
 vs.                                                ORDER CONCERNING
                                                 DEFENDANT’S PRO SE MOTION
 ALLEN R. WILLIAMS,
                                                      FOR NEW TRIAL
               Defendant.
                                 ____________________



       On December 14, 2010, a Superseding Indictment was returned against defendant
Allen R. Williams, charging him with conspiracy to distribute 50 grams or more of crack
cocaine, having previously been convicted of two felony drug offenses, in violation of 21
U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846 (Count 1), distributing crack cocaine, having
previously been convicted of two felony drug offenses, in violation of 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(C), and 851 (Counts 2, 7 and 8), distributing and aiding and
abetting another in the distribution of crack cocaine, having previously been convicted of
two felony drug offenses, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), 851, and
18 U.S.C. § 2 (Count 3). Trial in this case commenced on February 9, 2011. On
February 10, 2011, the jury returned a verdict finding Williams guilty of the charged
offenses. On April 7, 2011, Williams filed a pro se Motion for New Counsel and New
Trial (docket no. 306). Williams’s motion consists of eight numbered paragraphs. In
paragraphs 1 though 6, Williams argues his trial counsel provided ineffective assistance.
In paragraph 7, Williams objects to the replaying of video-tape for the jury upon the jury’s
request. In paragraph 8, Williams requests new counsel. New counsel was appointed for



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Williams on April 13, 2011. On April 29, 2011, Williams, through his new counsel, filed
a brief regarding his Motion for New Trial. In his brief, Williams concedes that his claims
of ineffective assistance of counsel found in paragraphs 1 through 6 should be presented
in a post-conviction motion under 28 U.S.C. § 2255 and withdraws those claims. In his
only remaining claim, Williams argues the court permitting audio and video recordings to
be replayed for the jury drew undue attention to those exhibits and warrants granting him
                                                                          1
a new trial. The prosecution filed a timely resistance on May 6, 2011.            Applying the
required standards for consideration of a motion for new trial, see FED. R. CRIM. P. 33,
which this court articulated in United States v. Ortiz, 40 F. Supp. 2d 1073, 1079, 1082
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(N.D. Iowa 1999), defendant Williams’s Motion for New Trial is denied.




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          Rule 33(b)(2) provides in pertinent part that “[a]ny motion for a new trial
grounded on any reason other than newly discovered evidence must be filed within 14 days
after the verdict or finding of guilty.” FED. R. CRIM. P. 33(b)(2). The Rule 33 time
limitation is not jurisdictional and is waivable if the prosecution fails to object to an
untimely motion. Eberhart v. United States, 546 U.S. 12, 13 (2005) (per curiam).
Because the prosecution opposed Williams’s motion on the merits and has not raised the
timeliness of the motion, it has waived any objection based on timeliness. See id.

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         It was well within the court’s discretion to replay the video and audio recordings
at the jury’s request. See United States v. Muhlenbruch, 634 F.3d 987, 1001-02 (8th Cir.
2011); United States v. Haren, 952 F.2d 190, 197 (8th Cir. 1991); United States v.
Guerue, 875 F.2d 189, 190 (8th Cir. 1989); United States v. Koessel, 706 F.2d 271, 275
(8th Cir. 1983).

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  IT IS SO ORDERED.
  DATED this 11th day of May, 2011.


                                      __________________________________
                                      MARK W. BENNETT
                                      U. S. DISTRICT COURT JUDGE
                                      NORTHERN DISTRICT OF IOWA




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